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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 12-669V
                                      Filed: August 22, 2014

* * * * * * * * * * * * * * * *                          UNPUBLISHED
GRAHAM ROBERTS,                              *
                                             *           Special Master Dorsey
              Petitioner,                    *
                                             *           Attorneys’ Fees and Costs;
v.                                           *           Reasonable Amount Requested to
                                             *           which Respondent Does Not Object.
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *
                                             *
              Respondent.                    *
* * * * * * * * * * * * * * * *
Christina Ciampolillo, Conway, Homer & Chin-Caplan, PC, Boston, MA, for petitioner.
Darryl Wishard, United States Department of Justice, Washington, DC, for respondent.

                                            DECISION 1

        On October 3, 2012, Graham Roberts (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006). The
petition alleged that petitioner suffered a neurological demyelinating injury as a result of an
influenza (“flu”) vaccination he received on October 13, 2009. Petition at 1-2. Petitioner later
filed an amended petition in which he alleged that his vaccine-related injury was, in fact,
transverse myelitis (TM). Amended Petition, filed April 8, 2013, at 1. On April 7, 2014, an
Entitlement Decision was entered based on the parties’ stipulation.

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                  1
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        On August 22, 2014, the parties filed a Stipulation of Facts Regarding Final Attorneys’
Fees and Costs. According to the stipulation, the parties stipulate to an award to petitioner of
attorneys’ fees and costs in the amount of $26,505.39. In accordance with General Order #9,
petitioner’s counsel represents that petitioner has personally incurred costs in the amount of
$350.00.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS
the request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       in the form of a check jointly payable to petitioner and to Ronald Homer, of the law
       firm of Conway, Homer & Chin-Caplan, P.C., in the amount of $26,505.39; and

       in the form of a check payable solely to petitioner in the amount of $350.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.


       IT IS SO ORDERED.

                                             s/ Nora Beth Dorsey
                                             Nora Beth Dorsey
                                             Special Master




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